69 F.3d 532
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Darrell Andre BURRIS, Plaintiff-Appellant,v.Sergeant JUDD;  Sergeant Smiley, Defendants-Appellees.
    No. 95-7215.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  October 12, 1995.Decided:  October 26, 1995.
    
      Darrell Andre Burris, Appellant Pro Se.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) claim as frivolous pursuant to 28 U.S.C. Sec. 1915(d) (1988).  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Burris v. Judd, No. CA-95-528-5 (E.D.N.C. July 26, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    